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     HEATHER E. WILLIAMS, #122664
1    Federal Defender
     NOA E. OREN, #297100
2    Assistant Federal Defender
     801 I Street, 3rd Floor
3    Sacramento, CA 95814
     Telephone: (916) 498-5700
4
     Attorneys for Defendant
5    SHELLBY MOORE
6
7
                                    UNITED STATES DISTRICT COURT
8
                                   EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                    ) Case No. 2:16-cr-0147 MCE
10                                                )
                            Plaintiff,            ) WAIVER OF PERSONAL APPEARANCE
11                                                )
           v.                                     ) Judge: Hon. Allison Claire
12                                                )
     SHELLBY MOORE, et al.,                       )
13                                                )
                            Defendants.           )
14                                                )
15
16
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant , SHELLBY
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     MOORE, hereby waives the right to be present in person in open court upon the hearing of any
18
     motion or other proceeding in this case, including, but not limited to, when the case is set for
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     trial, when a continuance is ordered, and when any other action is taken by the court before or
20
     after trial, specifically, appearances for any hearing regarding modification of conditions of
21
     supervised release, except upon arraignment, plea empanelment of jury and imposition of
22
     sentence.
23
            Defendant hereby requests the Court proceed during every absence which the Court may
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     permit to this waiver; agrees that defendant’s interests will be deemed represented at all times by
25
     the presence of the defendant’s attorney, the same as if the defendant were personally present;
26
     and further agrees to be present in court ready for trial any day and hour the Court may fix the
27
     defendant’s absence.
28
                                                     -1-                     Waiver of Personal Appearance
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1           The defendant further acknowledges being informed of the rights under Title 18 U.S.C.
2    §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
3    under that Act without the defendant’s personal presence.
4           The original signed copy of this waiver is being preserved by the attorney undersigned.
5
     Dated: August 4, 2016
6
7                                                /s/ Shellby Moore_______________
                                                 SHELLBY MOORE
8                                                Original retained by attorney
9
            I agree and consent to my Client’s waiver of appearance.
10
     Dated: August 4, 2016
11
                                                 /s/ Noa E. Oren_________________
12                                               NOA E. OREN
                                                 Assistant Federal Defender
13                                               Attorney for Defendant
                                                 SHELLBY MOORE
14
            IT IS SO ORDERED.
15
     Dated: August 4, 2016
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28
                                                   -2-                    Waiver of Personal Appearance
